            Case 2:20-cv-00470-GMS Document 44 Filed 09/11/20 Page 1 of 12




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 7                        THE UNITED STATES DISTRICT COURT
 8
                              FOR THE DISTRICT OF ARIZONA
 9
   Facebook, Inc., a Delaware corporation;          No. 2:20-cv-00470-GMS
10 Instagram, LLC, a Delaware limited liability
11 company; and WhatsApp, Inc., a Delaware
   corporation,                                     [PROPOSED] BRIEF OF AMICUS
12                                                  CURIAE NOYB – EUROPEAN CENTER
                              Plaintiffs,           FOR DIGITAL RIGHTS
13
14 vs.
15
16 Namecheap, Inc., a Delaware corporation, and
   Whoisguard, Inc., a Republic of Panama
17 corporation,
18
                              Defendants.
19
           Amicus Curiae NOYB – European Center for Digital Rights (“NOYB”) hereby submits
20
21 the following brief in support of Defendants in the above captioned matter. The proposed
22 brief is supported by the following Memorandum of Points and Authorities.
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24
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            Case 2:20-cv-00470-GMS Document 44 Filed 09/11/20 Page 2 of 12




 1                    MEMORANDUM OF POINTS AND AUTHORITIES
 2 I.      ARGUMENT.
 3
           A.     The privacy services provided by Namecheap through WhoisGuard merely
 4                implement the principles of the GDPR.
 5
           The GDPR is applicable to the data processed by Defendants. Most of the data
 6
     processed by Defendants qualifies as “personal data” under Article 4(1) GDPR: emails, names,
 7
 8 addresses, etc. (See Exhibit A). Furthermore, the services offered by Defendants are offered
 9 to “data subjects” in the EU, i.e. “an identified or identifiable natural person” (Article 4(1)
10
     GDPR). Therefore, in accordance with Article 3(2)(a) GDPR, Defendants are subject to the
11
     provisions of the GDPR.
12
13         As a consequence, the processing of personal data by Defendants must, inter alia,

14 comply with the relevant provisions regarding the principles of data minimisation (Article
15 5(1)(c) and data protection by design and by default (Article 25) GDPR.
16
          In application of the data minimisation principle, Namecheap cannot process more data
17
18 than necessary for the intended purpose. These data should be relevant, adequate, and limited
19 to what is necessary in relation to the purpose for which they are processed (Article 5(1)(c)
20 GDPR). In their Opposition Motion, Facebook concedes that the Temporary Specification is
21
   meant to deal with GDPR responsibilities (see page 17, lines 11 and 12 of the Opposition
22
23 Motion of Facebook). ICANN’s Temporary Specification for gTLD Registration Data (the
24 “Temporary Specification” – Exhibit B) also refers to the implementation of the
25
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             Case 2:20-cv-00470-GMS Document 44 Filed 09/11/20 Page 3 of 12




 1 accountability obligations set forth in the GDPR (see for example §5.5.5 of the Temporary
 2 Specification). Such an implementation of the data minimisation principle has been confirmed
 3
     by the Article 29 Working Party (“WP29”) in its Opinion 2/2003 WP 76 on the application of
 4
     the data protection principles to the Whois directories (see Exhibit C), which was endorsed by
 5
 6 the European Data Protection Board (“EDPB”, the EU body composed of all EU data
 7 protection authorities). According to the EDPB, in light of the principle of proportionality, “it
 8
     is necessary to look for less intrusive methods that would still serve the purpose of the Whois
 9
     directories without having all data directly available on-line to everybody” (see page 3 of the
10
11 opinion).
12         In its letter of 11 April 2018 (see Exhibit D), WP29 welcomed the “layer approach”
13
     suggested by ICANN in its Temporary Specification. The Working Party confirmed that “the
14
     layered approach should indeed take into consideration varying personal data elements in
15
16 WHOIS data, limited open publication of certain data elements (provided it can be established
17 that it is indeed necessary to achieve the purposes of the processing), and access by
18
     contracting parties and third parties to certain personal data elements, in each case tied to a
19
     defined purpose for which the data elements will be used, in order to ensure a legitimate basis
20
21 for such processing as required under article 6 GDPR” (see page 3 of the Annex to the letter).
22         Beside complying with the principle of data minimization, Namecheap must also
23
     comply with the principles of data protection by default and by design enshrined in Article 25
24
25
26


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             Case 2:20-cv-00470-GMS Document 44 Filed 09/11/20 Page 4 of 12




 1 GDPR. In particular, the controller has to implement technical and organizational measures for
 2 each specific purpose of the processing. This obligation applies to the amount of data
 3
     collected, the extent of their processing, but also to their accessibility. In particular, the
 4
     measures should ensure that, by default, personal data are not made accessible without the
 5
 6 individual’s intervention to an undefined number of natural persons (see Article 25(2) GDPR).
 7         The WhoisGuard service offered by Namecheap simply follows the layer approach
 8
     adopted in the Temporary Specification. WhoisGuard is a proxy service that allows customers
 9
     to make sure that their data are not published in the WHOIS database. By doing so,
10
11 Defendants are only implementing the principles of data minimization and data protection by
12 default and by design, with a method (the use of privacy/proxy services) that is also adopted
13
     by many other registrars.
14
           Furthermore, not using the WhoisGuard service would not make a difference in the
15
16 present case since Defendants would still not be allowed to communicate the data of the
17 domain name holder to the Plaintiffs for the reasons explained in section 2 below.
18
           B.     The GDPR prohibits Defendants from sharing data without appropriate
19                legal basis.
20         All processing operations (which includes the mere communication of data) must have
21
     an appropriate legal basis under Article 6(1) GDPR. We refer in this respect to Appendix C of
22
     the Temporary Specification. This document states the specific legal bases under which the
23
24 various actors involved in the activities of domain name registration may rely on for each
25
26


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             Case 2:20-cv-00470-GMS Document 44 Filed 09/11/20 Page 5 of 12




 1 processing operation. These legal bases were developed in constant dialogue with the EDPB
 2 (see letter of 5 July 2018 from the EDPB to ICANN – Exhibit E) and provide a good
 3
     assessment of possible legal bases for processing.
 4
           Collecting the data for the use of the registrar and making these data available to third
 5
 6 parties are two different processing operations. As mentioned, each operation needs a specific
 7 legal basis under Article 6(1) GDPR. While the collection of data is necessary to perform the
 8
     contract between the registrant and the registrar (see Article 6 (1)(b) GDPR and Appendix C
 9
     of the Temporary Specification), 1) the publication of the personal data in the WHOIS
10
11 database and 2) the communication to third parties need a different legal basis (see Temporary
12 Specification, Annex C, table, lines 7 and 8). The communication of WHOIS data can
13
     therefore only take place under one of the six exhaustive legal bases under Article 6(1) GDPR.
14
           Any communication which would not rely on such basis would be a violation of the
15
16 GDPR and could lead to fines by the competent data protection authority (see Articles 58 and
17 83 GDPR - Exhibit A).
18
           C.     The legitimate interest of Facebook is not established under the GDPR.
19
           We understand that Plaintiffs argue that the “legitimate interest” basis under Article
20
21 6(1)(f) GDPR would give them the right to receive the data upon request. Such reading of the
22 GDPR is erroneous.
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24
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             Case 2:20-cv-00470-GMS Document 44 Filed 09/11/20 Page 6 of 12




 1          The legitimate interest can be the one of the data controller, such as Namecheap, or of a
 2 third party, such as the Plaintiffs. In this case, the protection of one’s intellectual property
 3
     rights may constitute a legitimate interest. However, the fact that the controller has such a
 4
     legitimate interest in the processing of certain data does not mean that it can necessarily rely
 5
 6 on Article 6(1)(f) as a legal ground for the processing. The legitimacy of the controller’s
 7 interest is just a starting point. It is only one of the elements that need to be analyzed under
 8
     Article 6(1)(f) GDPR. Whether Article 6(1)(f) can be relied on will depend on the outcome of
 9
     the balancing test (see Opinion 06/2014 of WP29, on the notion of legitimate interest, WP
10
11 2017, p. 25 – Exhibit F).
12          According to Article 6(1)(f) GDPR, the processing must be necessary to meet the
13
     legitimate interest of the controller, and such interests should not be overridden by the interests
14
     of fundamental rights and freedoms of the data subject. This implies a necessity analysis and a
15
16 subsequent balancing test for each specific case.
17          In this specific case, although Plaintiffs may have a legitimate interest to process the
18
     data collected by Defendants, the communication of this data is not necessary under Article
19
     6(1)(f) GDPR. Plaintiffs can file a lawsuit, a Uniform Domain Name Dispute Resolution
20
21 Policy (“UDRP”) proceeding, and even communicate with the registrant directly using the
22 WhoisGuard anonymized email address, all without the data requested. For example, Exhibit
23
     D, Temporary Specification, Appendix E section 1.2 explains how a “Doe” complaint may be
24
25
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             Case 2:20-cv-00470-GMS Document 44 Filed 09/11/20 Page 7 of 12




 1 filed, after which the contact details of the registrant shall be provided as part of the UDRP
 2 proceeding. Consequently, the data is not necessary for Plaintiffs to fully exercise their rights
 3
     as a trademark holder. Having shown lack of necessity, the test must end here.
 4
            However, even if the data were considered necessary, the data could be obtained in a
 5
 6 more privacy-protective manner, e.g., through a court order or under a UDRP proceeding. As
 7 such, the balancing test would fail.
 8
            When performing the balancing test of Article 6(1)(f) GDPR, which, as mentioned, one
 9
     only proceeds to if the “gateway” necessity test succeeds, the following elements must be
10
11 taken into account: 1) the nature and source of the legitimate interest, 2) the impact on the data
12 subjects, and, following a provisional balance, 3) additional safeguards to prevent undue
13
     impact on the data subjects (see Exhibit F, Opinion 06/2014 of WP29, on the notion of
14
     legitimate interest, WP 2017, section III.3.4).
15
16          In this case, 1) the interest is merely economic and solely Plaintiffs’, whereas 2) the

17 impact on the data subjects (i.e. registrants) would be a breach of their European fundamental
18
     rights to privacy and data protection: the data requested by Plaintiffs is non-public and
19
     registrants do not have a clear legitimate expectation that their data will be made freely
20
21 available upon any request that can show any legitimate interest – which could, in abstract,
22 also be an interest in buying the domain or placing ads on the website. Consequently,
23
     considering, inter alia, i) that the data are not public and were specifically not made public in
24
25
26


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             Case 2:20-cv-00470-GMS Document 44 Filed 09/11/20 Page 8 of 12




 1 order to protect the registrant’s privacy (which speaks to the registrant’s expectations), ii) that
 2 the Temporary Specifications do not mention any possibility to communicate their personal
 3
     data on a simple request from a third party, and iii) that there are more privacy-preserving
 4
     methods to pursue Plaintiffs’ interest, the communication of the data by the Defendants to
 5
 6 Plaintiffs would not pass the required balancing test.
 7         Furthermore, even if the data could be processed by Plaintiffs under Article 6(1)(f)
 8
     GDPR, this provision does not create a legal obligation to communicate the data to any third
 9
     party that may have a legitimate interest in receiving it. Importantly, it also not possible to
10
11 circumvent Article 6(1)(f) GDPR by relying on a contractual clause that would require such
12 disclosure. What is “necessary” for a contract depends on the core nature of the contract. For
13
     example, the core of a contract about the sale of bananas is the exchange of money for the
14
     bananas. A contractual requirement to disclose to a third party how many bananas one eats per
15
16 day would is not “necessary for the performance of the contract” under Article 6(1)(b) GDPR.
17 Any other interpretation would defeat and circumvent the specific protections foreseen by the
18
     GDPR with each of the legal bases. This approach is supported by the EDPB: “Where a
19
     controller seeks to establish that the processing is based on the performance of a contract with
20
21 the data subject, it is important to assess what is objectively necessary to perform the
22 contract.” (EDPB Guidelines 2/2019 on the processing of personal data under Article 6(1)(b)
23
     GDPR in the context of the provision of online services to data subjects, para 27 – Exhibit G).
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             Case 2:20-cv-00470-GMS Document 44 Filed 09/11/20 Page 9 of 12




 1         All of the above has also been confirmed by the Court of Justice of the European Union
 2 (“CJEU”). The CJEU is the supreme court on interpreting European law, such as the GDPR. In
 3
     a balancing test, the CJEU confirmed that the mere economic interest of the operator of a
 4
     search engine cannot justify interference in the private life of the affected individuals (CJEU,
 5
 6 Google Spain, C-131/12, 13 May 2014, §81 – Exhibit H). In a different case, the CJEU also
 7 stated that the mere legitimate interest of a company to protect its rights to intellectual
 8
     property does not mean Member States must lay down an obligation upon companies, such as
 9
     Internet Service Providers, to communicate the data of their customers for copyright purposes
10
11 in the context of civil proceedings. Therefore, this data could not be communicated to a third
12 party, even with a legitimate interest, except if expressly provided by national law and subject
13
     to the principle of proportionality (CJEU, 29 January 2008, Promusicae, C-275/06 –
14
     Exhibit I).
15
16         Finally, the CJEU made clear, in a case very similar to the instant case, that Article

17 6(1)(f) GDPR (the equivalent to Article 7(f) of Directive 95/46/EC, the predecessor to the
18
     GDPR) “does not, in itself, set out an obligation, but expresses the possibility of processing
19
     data such as the communication to a third party of data necessary for the purposes of the
20
21 legitimate interests pursued by that third party” (CJEU, 4 May 2017, Rigas, C-13/16, §26 –
22 Exhibit J). According to the Court, Article 6(1)(f) GDPR “must be interpreted as not
23
     imposing the obligation to disclose personal data to a third party in order to enable him to
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            Case 2:20-cv-00470-GMS Document 44 Filed 09/11/20 Page 10 of 12




 1 bring an action for damages before a civil court for harm caused by the person concerned by
 2 the protection of that data. However, Article 7(f) of that directive does not preclude such
 3
     disclosure on the basis of national law” (Exhibit J, CJEU, 4 May 2017, Rigas, C-13/16, §35).
 4
     II.    CONCLUSION.
 5
 6          Plaintiffs cannot rely on the legitimate interest legal basis under Article 6(1)(f) GDPR
 7 to claim the right to receive the data processed by Defendants. Moreover, such out-of-
 8
     proceeding communication of personal data to Plaintiffs would be a violation of the GDPR
 9
     and may lead to sanctions against Defendants.
10
11          Pursuant to Fed. R. App. P. 29(4), counsel hereby avers:

12          1.      The proposed brief has not been authored in whole or in part by any party to the
13
     case or their counsel;
14
            2.      No party or party’s counsel contributed money to fund preparing or submitting
15
16 the brief; and
17          3.      No person – other than noyb, its members or its counsel - has contributed money
18
     to fund preparing or submitting the brief.
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            Case 2:20-cv-00470-GMS Document 44 Filed 09/11/20 Page 11 of 12




 1          RESPECTFULLY SUBMITTED this 11th day of September, 2020.
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12                                  CERTIFICATE OF SERVICE

13          I hereby certify that on September 11th, 2020, I electronically transmitted the attached
14
     document to the Clerk’s Office using the ECF System for filing and transmittal of Notice of
15
     Electronic Filing to the following ECF registrants:
16
17          A courtesy copy of the Notice of Electronic Filing was also mailed on this same date to

18 the following addresses:
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     Case 2:20-cv-00470-GMS Document 44 Filed 09/11/20 Page 12 of 12




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